                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

     WACKER CHEMICAL CORPORATION,

                             Plaintiff,

                   v.
                                                      Civil Action No. 1:19-cv-00129
     UNITED STATES CITIZENSHIP AND
     IMMIGRATION SERVICES;                            COMPLAINT FOR DECLARATORY
     L. FRANCIS CISSNA,                               AND INJUNCTIVE RELIEF AND
     Director, U.S. Citizenship and Immigration       REVIEW OF AGENCY ACTION
     Services, in his Official Capacity; KEVIN K.     UNDER THE ADMINISTRATIVE
     MCALEENAN, Acting Secretary, U.S.                PROCEDURE ACT
     Department of Homeland Security, in his
     Official Capacity; LAURA B. ZUCHOWSKI,
     Director, Vermont Service Center, in her
     Official Capacity, U.S. Citizenship and
     Immigration Services, U.S. Department of
     Homeland Security; and
     UNITED STATES DEPARTMENT OF
     HOMELAND SECURITY,

                   Defendants.


                                            INTRODUCTION

           1.    Plaintiff, Wacker Chemical Corporation (“Wacker”) challenges the Defendants’

    arbitrary and unlawful decision to deny its petition for nonimmigrant “H-1B” immigration status

    and accompanying request for consular notification for a valued, highly educated and skilled

    foreign-born employee.

           2.    Wacker is a United States-based subsidiary of Wacker-Chemie A.G., a Germany-

    based multinational chemical company. The company established operations in the United

    States in 1987 and now has substantial facilities in Adrian, Michigan; Allentown, Pennsylvania;

    Calvert City, Kentucky; Chino, California; Eddyville, Iowa; and North Canton, Ohio. The


                                                  1
 
       Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 1 of 16 PageID #: 1
    company has also established Wacker Polysilicon North America, LLC (WPNA) as a subsidiary

    to build and operate in Charleston, Tennessee, near Cleveland/Chattanooga, a new facility to

    produce hyperpure polycrystalline silicon used by industry in the manufacture of solar panels

    and photovoltaic devices. The company has invested $2.5 billion in this facility, which employs

    650 people. Wacker employs over 1,500 workers, the overwhelming percentage of whom are

    United States workers spread across 6 facilities.

           3.     Wacker currently employs Mr. Bevinaguddaiah Ramakumar Channaiahnapalya, a

    native of India and citizen of Canada, in the United States.

           4.     Wacker seeks to continue the employment of Mr. Channaiahnapalya using the H-

    1B classification. As described in its initial petition to U.S. Citizenship and Immigration Service

    (“USCIS”), which was filed on April 1, 2018, Wacker wishes to continue to employ Mr.

    Channaiahnapalya as a Support Engineer-MES (Manufacturing Execution Systems) to support

    logistic and production process IT (Information Technology) MES applications for

    manufacturing automation and data acquisition, and monitor, support, and maintain

    manufacturing applications at the facility in Charleston, Tennessee. Classified in the Computer

    Systems Analyst occupation, the position requires attainment of at least a Bachelor’s degree in

    Computer Science or related field. See Exhibit 1 (Complete H-1B filing submitted to USCIS).

           5.     USCIS issued a Request for Evidence (RFE) on August 29, 2018, and called for

    additional evidence that the position offered to the beneficiary met the requirements of a

    specialty occupation. See Exhibit 2 (August 29, 2018 Notice from USCIS). Wacker submitted a

    timely response to the RFE. See Exhibit 3 (Complete RFE response submission). Along with a

    range of documentary evidence, Wacker attached a detailed support letter that provided a more

    detailed explanation of the beneficiary’s proposed day-to-day responsibilities and the


                                                    2
 
        Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 2 of 16 PageID #: 2
    company’s minimum requirements for the role, and also demonstrated that the position clearly

    qualified as a specialty occupation as defined under Section 101(a)(15)(h)(i)(b) of the

    Immigration and Nationality Act and 8 U.S.C. Section 1101(a)(15)(H)(i)(B).

           6.       On December 27, 2018, USCIS denied the H-1B petition on the sole ground that

    the evidence in the record did not establish that the job offered qualifies as a specialty

    occupation under Section 101(a)(15)(H)(i)(b) of the Immigration and Nationality Act. See

    Exhibit 4 (December 27, 2018 USCIS Decision).

           7.       USCIS’s denial of the petition is unsupported by the substantial evidence in the

    record. The decision is arbitrary and capricious, an abuse of its discretion, and not in accordance

    with the law.

           8.       Wacker seeks an order overturning the denial and requiring USCIS to adjudicate

    and approve its H-1B nonimmigrant petition on behalf of Mr. Channaiahnapalya.

                                        JURISDICTION AND VENUE

           9.       This is a civil action brought under 5 U.S.C. § 701 et seq., the Administrative

    Procedure Act (“APA”), and 8 U.S.C. § 1101 et seq., the Immigration and Nationality Act

    (“INA”). This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal question subject

    matter jurisdiction), and 28 U.S.C. § 1361. This Court also has authority to grant declaratory

    relief under 28 U.S.C. §§ 2201-02, and injunctive relief under 5 U.S.C. § 702, and 28 U.S.C.

    § 1361. The United States waives sovereign immunity under 5 U.S.C. § 702.

           10.      Venue in this judicial district is proper under 28 U.S.C. § 1391(e)(1)(B), because

    this is a civil action in which the Defendants, respectively, are an agency of the United States

    and officers of the United States acting in their official capacity, and a substantial part of the

    events or omissions occurred in this jurisdiction because the harm suffered by Wacker – the


                                                    3
 
        Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 3 of 16 PageID #: 3
    inability to fill a specialty occupation with a specialized employee of its choice -- occurred

    within the Eastern District of Tennessee.

           11.    The USCIS decision deprives the Charleston, Tennessee facility of valued, highly

    educated, and skilled labor integral to the success of its operations. Mr. Channaiahnapalya must

    provide critical support and direction for the “Fine Sieve Project” based in Charleston,

    Tennessee, and the specific requirements of the project to which Mr. Channaiahnapalya is

    assigned cannot be performed in any other location outside of the Charleston, Tennessee

    worksite because this is the only Wacker site in the United States conducting such operations.

    Without Mr. Channaiahnapalya’s critical services, provided in a timely manner, Wacker would

    be required to hire and train a consultant to perform the duties of the IT Support Engineer-MES

    position, which would potentially require 28+ weeks of training time plus nearly $100,000 in

    costs. Wacker would suffer loss of profit and the possibility of interrupting production should

    there be any disruption or delay to Mr. Channaiahnapalya’s employment with Wacker.

                                      EXHAUSTION OF REMEDIES

           12.    Defendant USCIS’s December 27, 2018 denial of Plaintiff’s H-1B Petition

    constitutes final agency action under the APA, 5 U.S.C. § 701, et seq. Neither the INA nor

    implementing regulations at 8 C.F.R. § 103.3(a) require an administrative appeal of the denial.

    Accordingly, Plaintiff has no administrative remedies to exhaust.

                                                  PARTIES

           13.    Plaintiff is a Delaware corporation headquartered in Adrian, Michigan, with its

    principal office at 3301 Sutton Road, Adrian, Michigan 49221.

           14.    Defendant USCIS is a component of the U.S. Department of Homeland Security

    (“DHS”), 6 U.S.C. § 271, and an “agency” within the meaning of the APA, 5 U.S.C. § 551(1).


                                                   4
 
        Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 4 of 16 PageID #: 4
    USCIS adjudicates petitions for immigration benefits and denied the nonimmigrant petition

    filed on behalf of Mr. Channaiahnapalya. USCIS can be served with process through the Office

    of the General Counsel, 245 Murray Lane, SW, Mail Stop 0485, Washington, DC 20528-0485.

           15.    Defendant L. Francis Cissna is the Director of USCIS. He has ultimate

    responsibility for the denial of petitions and is sued in his official capacity. Defendant Cissna

    can be served with process through the Office of the General Counsel, 245 Murray Lane, SW,

    Mail Stop 0485, Washington, DC 20528-0485.

           16.    Defendant Kevin K. McAleenan is the Acting Secretary of the Department of

    Homeland Security (“DHS”), the federal agency encompassing USCIS, which is responsible for

    administration and enforcement of the immigration and nationality laws of the United States.

    Defendant McAleenan is sued in his official capacity. Defendant McAleenan can be served

    with process through the Office of the General Counsel, 245 Murray Lane, SW, Mail Stop

    0485, Washington, DC 20528-0485.

           17.    Defendant Laura B. Zuchowski is the Director of the Vermont Service Center and

    she signed the denial at issue in this case. As Director of the Vermont Service Center, Ms.

    Zuchowski is responsible for the overall administration of the USCIS Vermont Service center,

    including the adjudication of visa petitions, such as the H-1B petition filed by Wacker.

    Defendant Zuchowski is sued in her official capacity. Defendant Zuchowski can be served with

    process through the Office of the General Counsel, 245 Murray Lane, SW, Mail Stop 0485,

    Washington, DC 20528-0485.

           18.    Defendant U.S. Department of Homeland Security (“DHS”) is a cabinet

    department of the U.S. federal government responsible for immigration-related services,

    enforcement, and investigations. DHS oversees USCIS and its implementation of federal law


                                                   5
 
        Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 5 of 16 PageID #: 5
    and policy with respect to immigration benefit applications. DHS can be served with process

    through the Office of the General Counsel, 245 Murray Lane, SW, Mail Stop 0485,

    Washington, DC 20528-0485.

                          LEGAL BACKGROUND AND FRAMEWORK

H-1B Petition Process

           19.    Section 101(a)(15)(H)(i)(b) of the INA provides for the admission into the United

States of temporary workers sought by petitioning U.S. employers to perform services in a

specialty occupation. 8 U.S.C. § 1101(a)(15)(H)(i)(b). This nonimmigrant classification is

commonly referred to as “H-1B.”

           20.    A “specialty occupation” is one that requires the “(A) theoretical and practical

    application of a body of highly specialized knowledge, and (B) attainment of a bachelor’s or

    higher degree in the specific specialty (or its equivalent) as a minimum for entry into the

    occupation in the United States.” 8 U.S.C. § 1184(i).

           21.    DHS regulations define specialty occupation to mean “an occupation which

    requires theoretical and practical application of a body of highly specialized knowledge in fields

    of human endeavor including, but not limited to, architecture, engineering, mathematics,

    physical sciences, social sciences, medicine and health, education, business specialties,

    accounting, law, theology, and the arts, and which requires the attainment of a bachelor’s degree

    or higher in a specific specialty, or its equivalent, as a minimum for entry into the occupation in

    the United States.” 8 C.F.R. § 214.2(h)(4)(ii).

           22.    Implementing regulations at 8 C.F.R. § 214.2(h)(4)(iii)(A)(1)-(4) further provide

    that a position will satisfy the statutory definition of specialty occupation if it meets one of the

    following criteria:


                                                      6
 
        Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 6 of 16 PageID #: 6
                 A baccalaureate or higher degree or equivalent is normally the minimum

                  requirement for entry into the particular position;

                 The degree requirement is common to the industry in parallel positions among

                  similar organizations or, in the alternative, an employer may show that its

                  particular position is so complex or unique that it can only be performed by an

                  individual with a degree;

                 The employer normally requires a degree or equivalent for the position; or

                 The nature of the specific duties are so specialized and complex that knowledge

                  required to perform the duties is usually associated with attainment of a

                  baccalaureate or higher degree.

                                         FACTUAL ALLEGATIONS

           23.    Wacker confirmed in its original H-1B petition that the position offered to Mr.

    Channaiahnapalya met the statutory requirements for a specialty occupation. In its initial letter

    of support included with the 2018 H-1B Petition, Wacker set forth information concerning: the

    company background; the complexity of the IT Support Engineer-MES position and its

    accompanying responsibilities; the requirement of a bachelor’s degree in computer science or a

    related field as a minimum for entry into the position; Mr. Channaiahnapalya’s master’s degree

    in computer integrated manufacturing, post graduate diploma in business administration, and

    bachelor of engineering degree; and Mr. Channaiahnapalya’s professional experience in

    information technology, business, manufacturing, business analysis, and quality assurance

    domain, all directly related to the specialized duties demanded of the proffered H-1B position.

           24.    In particular, in its RFE response, Wacker submitted evidence that the IT Support

    Engineer-MES position met the following regulatory criteria for being within a specialty


                                                    7
 
        Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 7 of 16 PageID #: 7
    occupation: (1) a baccalaureate or higher degree or its equivalent is normally the minimum

    requirement for entry into the particular position; (2) the degree requirement is common to the

    position in parallel positions among similar organizations; (3) the employer normally requires a

    degree or its equivalent for the position; and (4) the nature of the specific duties are so complex

    and specialized that knowledge required to perform the duties is associated with the attainment

    of a baccalaureate degree. See 8 C.F.R. § 214.2(h)(4)(iii)(A)(1), (2) (the first alternative), (3),

    and (4). Any one of these, standing alone, demonstrated that the position was a specialty

    occupation.

           25.    Wacker’s RFE response included evidence from the Department of Labor’s

    Occupational Outlook Handbook (OOH), a publication routinely consulted by USCIS and its

    adjudicators for information about the duties and educational requirements for particular

    occupations, confirming that with respect to the requested Computer Systems Analyst

    classification “[m]ost computer systems analysts have a bachelor’s degree in a computer-related

    field” to evidence that a bachelor’s degree or its equivalent is normally the minimum

    requirement for entry into the particular position.

           26.    Among other evidence, Wacker submitted a second supporting letter further

    elaborating that the minimum educational requirement for the IT Support Engineer-MES

    position was a Bachelor’s degree in computer science or a related field, and the job duties

    require “skilled judgment, demand comprehensive knowledge to fully analyze, test, and

    implement solutions in real time to address needs of WCC production operations.”

           27.    The RFE response letter also provided a much more detailed and robust position

    description, which described the role in significant detail, including the specific tasks to




                                                     8
 
        Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 8 of 16 PageID #: 8
    perform, and the skills and knowledge required to perform each job duty along with a

    percentage of time the beneficiary would spend on each job duty.

           28.    The RFE response letter identified 17 job advertisements that were representative

    of positions similar to Wacker’s IT Support Engineer -MES position at companies similar to

    Wacker. The letter confirmed the names of the companies along with the minimal education

    requirements for the position. The RFE response also included the description of each of the

    advertised positions.

           29.    The RFE response letter detailed the unique multi-tiered technical, automation,

    and manufacturing systems operating within Wacker that require management by the IT

    Support Engineer-MES position, the beneficiary’s significant authority for discretionary

    decisions to ensure uninterrupted operations for a 24 x 7 commercial manufacturing facility, and

    articulated the complexities of the MES project requirements and responsibilities to evidence

    that the position of IT Support Engineer-MES with Wacker’s operations is significantly more

    complex than it would be for a comparable employer, making the specialized degree

    requirement essential.

           30.    The RFE response letter also identified a prior job positing for the position which

    listed the minimum education requirements for the role as a Bachelor’s degree. The RFE

    response letter identified the only other person hired by Wacker into the position in the United

    States and demonstrated that the individual also held a Bachelor’s degree in a related field

    (Electrical Engineering), and the RFE response letter confirmed that similar specialized degree

    requirements are imposed by Wacker’s German workers employed in comparable positions.

           31.    Wacker’s RFE response included testimony from an expert who evaluated Mr.

    Channaiahnapalya’s education and degree and concluded that “Mr. Channaiahnapalya has


                                                   9
 
        Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 9 of 16 PageID #: 9
    earned the education equivalent of a Bachelor’s degree in Computer Information Systems based

    upon his academic education and his progressive employment experience.”

           32.    On December 28, 2018, Defendant USCIS issued a decision denying Wacker’s H-

    1B petition. The decision acknowledged that the position fell within the Computer Systems

    Analyst occupation as listed in the Department of Labor’s Occupational Outlook Handbook but

    found that it was not a “specialty occupation.”

           33.    In assessing whether a position meets the first criterion, i.e., that a baccalaureate

    or higher degree or its equivalent is normally the minimum requirement for entry into the

    particular position, USCIS adjudicators routinely consult the Occupational Outlook Handbook

    (“OOH”).

           34.    USCIS recognizes the OOH as an authoritative source on the duties and

    educational requirements of certain occupations.

           35.    The OOH is a DOL reference manual, updated every two years, which provides

    profiles about hundreds of occupations that represent a majority of the jobs in the United States.

    The occupational profiles describe, among other details, the typical education and training

    needed to enter the occupation.

           36.    The O*Net is the “Occupational Information Network,” which a state agency has

    developed and maintained under a DOL grant and contains crosswalks to the OOH. The O*Net

    database is based on “Standard Occupational Classifications and, as described on its website,

    “contain[s] hundreds of standardized and occupation-specific descriptors on almost 1,000

    occupations covering the entire U.S. economy.” For occupations that O*Net has listed

    separately, such as computer systems analyst, O*Net has a “Job Zone” category, which includes




                                                      10
 
      Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 10 of 16 PageID #: 10
    an education entry. Computer systems analyst are in “Job Zone 4: Considerable Preparation

    Needed.”

           37.    The denial notice from USCIS specifically notes that the OOH states “most

    computer systems analysts have a bachelor’s degree in a computer-related field … some

    employers prefer applicants who have a master’s degree in business administration (MBA) with

    a concentration in information systems. For more technically complex jobs, a master’s degree in

    computer science may be more appropriate.”

           38.    USCIS’s denial notice relies heavily on the OOH statement that “although many

    computer systems analyst positions normally require a bachelor’s degree in a specific specialty,

    such a degree is not always a requirement. Many analysts have liberal arts degrees and have

    gained programming or technical expertise elsewhere.”

           39.    USCIS’s denial notice fails to give appropriate weight to the OOH statements that

    “most” computer systems analyst positions do in fact require a degree.

           40.    With respect to the first regulatory criterion, 8 C.F.R. § 214.2 (h)(4)(iii)(A)(1),

    USCIS incorrectly imposes the need for an individualized showing that the employer’s position

    satisfies the specialty occupation definition, when what is required under this criterion is a

    showing that a “bachelor’s or higher degree or its equivalent is normally the minimum

    requirement for entry into the particular position.”

           41.    USCIS also misreads the OOH and the O*Net in analyzing the first regulatory

    criterion and fails to properly consider and credit Plaintiff Wacker’s evidence.

           42.    As to the second regulatory criterion — that the degree requirement is common to

    the industry in parallel positions among similar organizations — USCIS concluded that the

    degree requirements in the job listings did not indicate that job duties as advertised were similar


                                                    11
 
      Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 11 of 16 PageID #: 11
    to those of the offered position. USCIS also held that it was unable to discern whether the

    offered position is parallel to the positions for which job announcements were included. USCIS

    misrepresents Wacker’s position as generalized in nature.

            43.    The record evidence, ignored by USCIS, demonstrates that similarly situated

    employers, advertising to jobs that are similar to the one offered by Wacker, require at least a

    bachelor’s degree in a specific field in order to enter into the position.

            44.    The third criterion for an H-1B specialty occupation is that the employer normally

    requires a degree or equivalent for its position. In the RFE, USCIS requested Wacker to submit

    additional evidence on this point, including documentary evidence of past employment practices

    for the position.

            45.    In response to the request from USCIS, Wacker submitted a resume of the one

    individual who is the only other person in the U.S. who holds (or has held) the same position as

    the offered position which documents this person also holds a bachelor’s degree in a specialized

    field. The letter of support provided by Wacker as part of the RFE response also substantiated the

    hiring practices for the same position in Germany and indicated that Wacker’s “requirement of at

    least a bachelor’s degree in computer science or a related field for employees in this position is

    evident in its past hiring practices and posting notices and supported by the typical hiring

    practices for similar positions with comparable employers.”

            46.    USCIS mistakenly does not accord any weight to Wacker’s job requirements and

    the submitted evidentiary support and states “your opinion alone cannot establish the position as

    a specialty occupation.”




                                                     12
 
      Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 12 of 16 PageID #: 12
           47.     USCIS’s interpretation renders the third criterion meaningless by indicating that it

    cannot accept evidence of Wacker’s normal practice as sufficient — notwithstanding the plain

    language of the regulation.

           48.     Additionally, USCIS has not provided due consideration of the fact that Wacker

    filed its LCA as a Level IV, the highest prevailing wage for the occupation, based on the job’s

    minimum education and experience requirements.

           49.     As to the fourth regulatory criterion — that the nature of the specific duties are so

    specialized and complex that the knowledge required to perform the duties is usually associated

    with attaining a bachelor’s or higher degree, 8 C.F.R. § 214.2 (h)(4)(iii)(A)(4) — USCIS again

    mischaracterizes (or ignores) the evidence as providing only a “generalized and abstract” job

    description.

           50.     USCIS also stated that Wacker failed to demonstrate how its duties were more

    specialized and complex than those normally performed by Computer Systems Analysts. The

    fourth criterion does not require any such comparison, and USCIS’s contention is undercut by

    its earlier acknowledgement that the OOH does not preclude a particular computer systems

    analyst from qualifying as a specialty occupation.

           51.     Wacker met the fourth criterion with evidence demonstrating the specialized and

    complex nature of its job duties, including an explanation of how the education requirement is

    utilized to perform the job duties.

           52.     Under 5 U.S.C. §§ 702 and 704, Wacker has suffered a “legal wrong” and has

    been “adversely affected or aggrieved” by agency action.




                                                    13
 
      Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 13 of 16 PageID #: 13
                                                   COUNT ONE

                                    Violation of the Administrative Procedure Act
                                                 5 U.S.C. § 701, et seq.

           53.    Plaintiff re-alleges and incorporates herein by reference, as if fully set forth

    herein, the allegations in paragraphs 1-52 above.

           54.    Plaintiff is entitled to review by this Court pursuant to 5 U.S.C. §§ 701-706.

           55.    A reviewing court shall “hold unlawful and set aside agency action . . . found to

    be — arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.”

    5 U.S.C. § 706(2)(A).

           56.    Defendants denied the 2018 H-1B Petition solely on the ground that the evidence

    in the record was insufficient to establish that Plaintiff Wacker’s IT Support Engineer-MES

    position is in a specialty occupation.

           57.    Plaintiff Wacker submitted evidence demonstrating that the position satisfied all

    four of the regulatory criteria for demonstrating a specialty occupation. 8 C.F.R.

    § 214.2(h)(4)(iii)(A)(1)-(4).

           58.    Defendants failed to properly consider all record evidence; reached factual

    conclusions unsupported by any evidence in the record; misconstrued the governing regulations;

    and erroneously concluded that Plaintiff Wacker had not demonstrated that the IT Support

    Engineer-MES position qualified as a specialty occupation.

           59.    Defendants’ errors, singly and in combination, were arbitrary, capricious, and in

    violation of the law. Consequently, Defendants acted arbitrarily, capriciously, and contrary to

    the law in violation of the APA by denying Plaintiff Wacker’s 2018 H-1B Petition.




                                                    14
 
      Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 14 of 16 PageID #: 14
                                          REQUEST FOR RELIEF

          WHEREFORE, Plaintiff requests that this Court:

           60.    Declare that Defendants’ determination that evidence submitted by Plaintiff

    Wacker was insufficient to establish that the IT Support Engineer-MES position is in a specialty

    occupation is arbitrary and capricious, and not in accordance with law, in violation of the APA.

    5 U.S.C. § 706(2)(A);

           61.    Declare that the evidence submitted by Plaintiff Wacker was sufficient to

    establish that the IT Support Engineer-MES position is in a specialty occupation in accordance

    with law;

           62.    Vacate the denial of the 2018 H-1B Petition and remand this matter to Defendants

    with instructions to approve the Form I-129, Petition for Nonimmigrant Worker filed by

    Plaintiff Wacker, within ten days of the date of the Court’s Order;

           63.    Award reasonable attorneys’ fees and costs pursuant to the Equal Access to

    Justice Act, 28 U.S.C. § 2412(d), 5 U.S.C. § 504, or any other applicable law; and,

           64.    Grant such other relief as the Court deems just, equitable, and proper.



 




                                                   15
 
      Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 15 of 16 PageID #: 15
Dated: May 2, 2019                  Respectfully Submitted,

                                    BAKER, DONELSON, BEARMAN,
                                    CALDWELL & BERKOWITZ, PC

                                    By:    s/ Cameron S. Hill
                                           Robert C. Divine (TN BPR #013211)
                                           Cameron S. Hill (TN BPR #017408)
                                           Melanie C. Walker (TN BPR #030037)
                                           633 Chestnut Street
                                           Suite 1900
                                           Chattanooga, TN 37450
                                           Phone: 423-209-4201
                                           Fax: 423-752-9560
                                           rdivine@bakerdonelson.com
                                           chill@bakerdonelson.com
                                           mwalker@bakerdonelson.com

                                    Attorneys for Plaintiff




                                      16
 
    Case 1:19-cv-00129 Document 1 Filed 05/02/19 Page 16 of 16 PageID #: 16
